                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )         No. 3:98-cr-00038-1
                                                  )         Judge Nixon
EBEN PAYNE                                        )

                                               ORDER

       The Court hereby SCHEDULES a competency hearing in this case for Tuesday, June

11, 2013, at 10:00 a.m. The hearing will take place at the United States Courthouse in

Springfield, Missouri.

       It is so ORDERED.

       Entered this 24th day of April, 2013.



                                                      ____________________________________
                                                      JOHN T. NIXON, SENIOR JUDGE
                                                      UNITED STATES DISTRICT COURT




Case 3:98-cr-00038       Document 3881          Filed 04/26/13   Page 1 of 1 PageID #: 24684
